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                                               Attorneys for Proposed Intervenor-Defendant
                                                Peak Gold, LLC

                                                                    IN THE UNITED STATES DISTRICT COURT
                                                                          FOR THE DISTRICT OF ALASKA

                                               VILLAGE OF DOT LAKE, a federally                Case No. 3:24-cv-00137-SLG
                                               recognized Indian tribe,

                                                             Plaintiff,

                                                        v.

                                               UNITED STATES ARMY CORPS OF                     PEAK GOLD, LLC’S MOTION TO
                                               ENGINEERS and LIEUTENANT                        INTERVENE UNDER FED. R. CIV. P.
                                               GENERAL SCOTT A. SPELLMON, in                   24(a) AND 24(b)
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                                               his official capacity as Chief of Engineers
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                                               and Commanding General, United States
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                                               Army Corps of Engineers,
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                                                             Defendant.




                                                PEAK GOLD, LLC’S MOT. TO INTERVENE UNDER FED. R. CIV. P. 24(a) AND (b)
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                                                        Under Federal Rules of Civil Procedure 24(a) and (b), and for the reasons set forth

                                               in the accompanying/concurrently filed memorandum in support, Peak Gold, LLC (“Peak

                                               Gold”) moves to intervene in this case to defend the actions of Federal Defendants in

                                               connection with the permit issued September 2, 2022 (nearly two years ago) by the U.S.

                                               Army Corps of Engineers to Peak Gold under Section 404 of the Clean Water Act. 33

                                               U.S.C. § 1344. The permit allowed Peak Gold to fill 5.26 acres of wetlands on lands near

                                               Tok it has leased from the Native Village of Tetlin to develop and operate a gold mine

                                               (the “Project”). Mine production began nearly a year ago, in August 2023, and the trucks

                                               have been transporting ore at full capacity 24-hours a day, seven days a week, for seven

                                               months now. The 5.26 acres of wetlands were filled long before Plaintiff filed this

                                               lawsuit.

                                                        Peak Gold will suffer injury-in-fact if the Plaintiff obtains the relief it seeks in this

                                               case. Because Federal Defendants do not share Peak Gold’s economic interests in its

                                               Project and lack access to information about the ore transportation and other activities

                                               outside the Corps’ jurisdiction, they cannot adequately represent Peak Gold’s interest and
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                                               Peak Gold seeks intervention of right. Alternatively, Peak Gold seeks intervention under
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                                               Federal Rule of Civil Procedure 24(b), which allows intervention by a party that has a
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                                               “defense that shares with the main action a common question of law or fact.” FED. R.

                                               CIV. P. 24(b).




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                                                        As demonstrated in the accompanying motion, Peak Gold’s motion to intervene is

                                               timely; Federal Defendants have not yet appeared and still have 17 days to answer the

                                               Complaint. Peak Gold’s intervention therefore will not delay or prejudice resolution of

                                               the merits in this case. If intervention is granted, Peak Gold will comply with reasonable

                                               requests to streamline case management and to avoid duplicative arguments.

                                                        This Motion is supported by the accompanying memorandum in support of the

                                               motion; declaration of Manh Choh Operations Manager Shane Parrow and exhibits

                                               thereto; affidavit of Black Gold Transport’s Operator Jeremy Huffman; and a proposed

                                               order.

                                                        Peak Gold also moves the Court to waive the Rule 24(c) requirement to file a

                                               “pleading that sets out the claim or defense for which intervention is sought,” and allow

                                               Peak Gold to file its responsive pleading within seven days of Federal Defendants filing

                                               their responsive pleading. Deferring the requirement for Peak Gold to file a draft answer

                                               is justified because (1) the facts in this APA case will necessarily be based on the

                                               administrative record, which Federal Defendants have not yet lodged with the Court and
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                                               to which they alone have full access; and (2) Peak Gold may file a motion to dismiss
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                                               some or all of Plaintiff’s claims, and Rule 12(b)(6) motions normally should be filed
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                                               before an answer is filed. Granting this request would not prejudice the Plaintiffs, and

                                               courts in this and other circuits have applied Rule 24(c)’s requirement flexibly. See Cal.




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                                               Dep’t of Soc. Servs. v. Thompson, 321 F.3d 835, 847 (9th Cir. 2003) (“no separate

                                               pleading was required” where intervenor and existing party “sought the same result”);

                                               Spring Const. Co. v. Harris, 614 F.2d 374, 376-77 (4th Cir. 1980) (allowing intervention

                                               absent pleading where sufficient notice of intervenor's position was given); Wash.

                                               Alliance of Tech. Workers v. U.S. Dep’t of Homeland Sec., 395 F. Supp. 3d 1, 21 n.4

                                               (D.D.C. 2019) (excusing pleading when movant’s position was “apparent” and no party

                                               would be prejudiced by intervention); Tachiona v. Mugabe, 186 F. Supp. 2d 383, 393 n.8

                                               (S.D.N.Y. 2002) (“Where … the position of the movant is apparent … and where the

                                               opposing party will not be prejudiced, Rule 24(c) permits a degree of flexibility with

                                               technical requirements.”); § 1914 Motion and Pleading, 7C CHARLES ALAN WRIGHT &

                                               ARTHUR R. MILLER, FED. PRAC. & PROC. § 1914 (3d ed. 2002) (“If the intervenor is

                                               content to stand on the pleading an existing party has filed, it is difficult to see what is

                                               accomplished by adding to the papers in the case a new pleading that is identical in its

                                               allegations with one that is already in the file.”). Accordingly, it is reasonable to allow

                                               Peak Gold to file its answer after Federal Defendants have answered or otherwise
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                                               responded.
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                                                        Undersigned counsel contacted Plaintiff’s counsel, who indicated that Plaintiff
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                                               opposes this motion. Federal Defendants take no position on the motion.




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                                                        DATED: August 20, 2024.

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                                                                           CERTIFICATE OF SERVICE

                                                        I hereby certify that on August 20, 2024 I filed a true and correct copy of the

                                               foregoing document with the Clerk of the Court for the United States District Court –

                                               District of Alaska by using the CM/ECF system. Participants in Case No. 3:24-cv-00137

                                               who are registered CM/ECF users will be served by the CM/ECF system.

                                                                                                 /s Eric B. Fjelstad
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